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EXH|B|T “A”

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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For Protlzonotary Use Only: . "-'
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Doeket No: ` ‘S']jq
20\?» owi=)~ “”’
The information collected on this form is used solely for court administration purposes Tl1is form does not
supplement or replace theji`iing and service ofpteadings or other papers as required by law or rules ofcourt.
Commencemcnt of Action:
S El Complaint EI Writ ofSummons E Petition
E EI Transfer from Another Jurisdiction § Declaration of Taking `
C Lead P|aintif`f’s Name: Lcad Def`endam's Namc:
rt Darrin Neuer Thomas J. Arthur. et. al.
Do|lar Amounl Requested: Bwithin arbitration limits
I Are money qamages requested? E Yes g NO (check one) Eoutside arbitration limits
N ls this a CIassAction Suit? l:_l Yes § No ls this an MDJ Appeal? ij Yes §§ No
A Name of PlaintifftAppe||ant’s Attorney: ThOmaS A- Arche"- Esquil'e
E Check here if you have no attorney (a re a Se|f-Represented [Pro Se] Litigant)
Nature of the Case: Place an “X” to the left of the ONE case category that most accurately describes your
PRIMARY CASE. Ifyou are making more than one type of claim, check the one that
you consider most important
TORT (do not include Mass Tort) CONTRACT (a'o not include Judgments) ClVIL APPEALS
g Intentional g Buyer Plaintiff Administrative Agencies
m Malicious Prosecution § Debt Co|lection: Credit Card E Board of Assessment
E Motor Vehicle Debt Collection: Other g Board ofE|ections
E| Nuisance Dept. ofTransportation
S § Premises Liability Statutory Appea|: Other
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. ~ Discrimination
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g Asbestos
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13 T°"E° ;j’“ ' "“P'a“t REAL PROPERTY MIscELLANEoUS _
g g°;;'°' amc § Ejectment E Common Law/Statutory Arbitration
B t er‘ m Eminent Domain/Condemnation n Declaratory Judgment `
l:l Ground Rent g Mandamus
m Landlord/Tenant Dispute E Non-Domcstic Relalions
m Mortgage Foreclosure: Residential Rcstraining Order
PROFESSIONAL LIABLITY E Mortgage Foreclosure', Commercial Quo Warrnnto
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E Legal E Quict Title g Olhcr:
E Medical E Other:
Other Professional:
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Filed 08/29/17 Page 3 of 12

 

Mette, Evans and Woodside
By; Thoina$ A. Archer, Esquire
3401 North Front Street

PO Box 5950

ll remittitur

2017-07617-0000 F#1186800 Fee:$115 75
WR|TOF SUMMONS

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Harrisburg, PA 17110
(717) 232-5000
taarcher@mette.com

 

DARRIN NEUER,
250 North ls‘ Street, Unit 311
Burbank, CA 91502,

~, rN THE COURT or cOMMoN PLEAS ` ._?
1 CUMBERLAND COUNTY, PENNSYLVANIA :

Plaintiff,

§ DOCKET NO.= lmiMj:-t Ci\ 1 `\ \

V. .

: CIVIL AC'I`lON - LAW AND EQUITY
THOMAS J. ARTHUR, '
3663 Monroe Street :
Napoleon, IN 47034, : JURY TRIAL DEMANDED

and

BILLMAN TRUCKING, INC.,
9045 East State Road 48
New Point, IN 47263,

Defendants.

 

PRAECIPE FOR WRIT OF SUMMONS
TO THE PROTHONOTARY OF SAID COURT:
Please issue Writ of Surnmons in the above-captioned action.

X_Writ of Summons shall be issued and forwarded to Attorney Thomas A. Archer

,4/»7

Signature of Attorney

Mette, Evans and Woodside
3401 North Front Street
PO Box 5950

Harrisburg, PA 17110

(717) 232-5000
Suprerne Court ID No. 73293

Date: July 14, 2017

 

 

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WRIT 01=“ sUMMoNs
To THE ABovE-NAMED DEFENDANTS;

YOU ARE NOTIFIED THAT THE ABOVE-NAMED PLAINTIFF HAS
COMMENCED AN ACTION AGAI`NST YOU.

mm 51 D BLLM

Prothonotary

Date: C']iil\j.?_:l*,'lb-l:l“ by Q,t’,(l{‘@f ./\/l Q/]l;`l/\l»"‘
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( ) Check here if reverse is issued for additional information

 

 

https://onbaseweb.ccpa.net/psi/v/detai|/Case/181340#/Docket/1184328/doc 2/2

 

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EXH|B|T “B”

 

 

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l
M‘ette, Evans and Woodside ‘
By: Thomas A. Archer, Esquire ” . l
3401 North Front Street 2017075110001 F#1191osa Fee;so 00
PO BOX 5950 - AFFlDAV|T OF SERVlCE
Hanisburg, pA 171 10 ' chr 2151795 elmowio;ssnz AM
(717) 232-5000 l` Davrd D Buetl. County F’mthonatary

 

taarcher@mette.com

 

DARRIN NEUER, : ]N THE COURT OF COMMON PLEAS

: CUMBERL,AND COUNTY, PENNSYLVANIA

Plaintiff, :

'. DOCKET NO.: 2017-07617-Civi1
v. :
; ClVIL ACTION - LAW AND EQUITY
THOMAS J. ARTHUR, and BILLMAN
TRUCKING, lNC., :
: JURY TRIAL DEMANDED
Defendants. ‘

 

AFFIDAVIT OF SERVICE

l, Thomas A. Archer, Esquire, attorney for Plaintiff, Darrin Neuer, do hereby declare as
follows:

1. 1 am attorney for Plaintiff and 1 am authorized to make this Affidavit.

2. A copy of the Writ of Summons was mailed to Defendant’s, Billman Trucl<ing,
lnc., last known address of 9045 East State Road 48, New Point, IN 47263_, via first-class mail
and certified mail, return receipt requested on July 28, 2017. The certified mail was delivered
and signed for on luly 31, 2017. A copy of the executed green card is attached hereto as Exhibit
“A.,,

3. A copy of the Writ of Summons was mailed to Defendant’s, Thomas J. Arthur,
last known address of 3663 Monroe Street, Napoleon, IN 47034, via first-class mail and certified
mail, return receipt requested on July 28, 2017. The certified mail was returned as undeliverable
on August 4, 2017.

4. An Accurint search for Defendant, Thomas J. Arthur, was performed on August 4,

2017, which revealed a current address for Defendant, Thomas J. Arthur, of 3663 West Monroe,

 

 

 

 

 

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Napoleon, IN 47034.

5. A copy of the Writ of Summons was mailed to Defendant’s, Thomas J. Arthur,
most recent address of 3663 West Monroe, Napoleon,' IN 47034, on August 4, 2017, via first-
class mail and certified mail, return receipt requested on August 4, 2017. The certified mail was

delivered and signed for. A copy of the executed green card is attached hereto as Exhibit “B.”

Respectfully submitted:

METTE, EVANS AND WOODSIDE

Dated: August 15, 2017 By: /7/'\
'I"nonMs A. Archer, Esquire
Attorney ID: 73293
3401 N. Front Street
Harrisburg, PA 17110
(717) 232-5000
(717) 236-1816 (fax)

taarchertr),:mette.com
Attorneyfor Plaintijjf

Sworn an subscribed before me

onrhis l‘l) day of lhgult, ,2017.

emma l?@K>

\llotary Public l
My commission expires (QIZQ l l cl .

 
      

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All|
match R PURTEB

Nottlr¥ Pllbtle
BUSUUEHANNA TWP. 0AUPH|N GOUNTV
My Comm|sslon Exp‘lres Jun 29. 2019

 

 

 

 

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CERTIFICATE OF SERVICE
l certify that I am this day serving a copy of the foregoing Affldavit of Service upon the
person(s) and in the manner indicated below, Which service satisfies the requirements of the
Pennsylvania Rules of Civil Procedure, by depositing a copy of same in the United States Mail at

Harrisburg, Pennsylvania, With first-class postage, prepaid, as follows:

Billman Trucking, Inc.
9045 East State Road 48
New Point, IN 47263
Pro Se Defena'am

Thomas J . Arthur
3663 West Monrce
Napoleon, IN 47034

Pro Se Defendant

  

R@D

Ji: sica R. Porter: liaralégal to Thomas A.
rcher, Esquire

Date: August 18, 2017

 

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